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 1 SCOTT N. CAMERON (SBN 226605)
   Attorney at Law
 2 1007 7th Street, Suite 319
   Sacramento, CA 95814
 3 Ph. 916-442-5230

 4
   Attorney for:
 5 NINA NGUYEN

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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:12-CR-00409 TLN
12                                Plaintiff,               STIPULATION AND ORDER
                                                           CONTINUING JUDGMENT AND
13   v.                                                    SENTENCING
14   NINA NGUYEN, and
     LUAN TRAN,
15
                                  Defendants,
16

17
                                                STIPULATION
18
            Plaintiff, United States of America, by and through its counsel of record, and defendants,
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20 NINA NGUYEN and LUAN TRAN, by and through their counsel of record, hereby stipulate that

21 the judgment and sentencing of both defendants, currently scheduled for December 5, 2013, may be

22 continued to January 16, 2014, at 9:30 a.m. The son of both defendants has recently been diagnosed

23
     with a serious medical condition. This may become relevant to defendants' argument at sentencing
24
     and the defense needs additional time to obtain medical documentation and discuss the matter with
25
     the government. Defendants are requesting the continuance for that purpose. The parties further
26
     stipulate that the schedule for objections may be modified as set forth below:
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28 / / /
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            Pre-Sentence Report Filed with the Court:                     Completed
 1
            Motion for Correction to PSR:                                 Completed
 2

 3          Reply or Statement of Non-Opposition:                         January 9, 2013

 4          The United States Probation Department has been consulted about this continuance and has
 5 no objection. The parties have reviewed this stipulation and proposed order and have authorized

 6
     counsel for NINA NGUYEN to sign and file it on their behalf.
 7
     IT IS SO STIPULATED.
 8
     DATED:        November 26, 2013     /s/R. Steven Lapham
 9                                       R. Steven Lapham
                                         Assistant United States Attorney
10
     DATED:        November 26, 2013     /s/Scott Cameron
11                                       Scott Cameron
                                         Attorney for NINA NGUYEN
12
     DATED:        November 26, 2013     /s/Michael Bigelow
13                                       MICHAEL BIGELOW
                                         Attorney for LUAN TRAN
14

15
                                                ORDER
16

17          IT IS SO ORDERED this 2nd day of December, 2013.
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21                                                          Troy L. Nunley
                                                            United States District Judge
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